      Case 2:20-cr-00113-RMP     ECF No. 48   filed 11/05/20   PageID.116 Page 1 of 2



1                                                                        FILED IN THE
                                                                     U.S. DISTRICT COURT
                                                               EASTERN DISTRICT OF WASHINGTON

2
                                                                Nov 05, 2020
3                                                                   SEAN F. MCAVOY, CLERK




4

5                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WASHINGTON
6

7    UNITED STATES OF AMERICA,
                                                NO: 2:20-CR-113-RMP-1
8                              Plaintiff,
                                                ORDER AMENDING PROTECTIVE
9         v.                                    ORDER

10   SALVADOR ORTIZ-CABRERA,

11                             Defendant.

12

13        IT IS HEREBY ORDERED that:

14        1.   The Government’s Motion to Amend Protective Order, ECF No. 47,

15   is GRANTED.

16        2.   The Protective Order, ECF No. 34, is hereby amended as follows:

17             - Paragraph three is amended to: Discovery materials that contain the

18             voice or image of a confidential source may be provided to defense

19             counsel and shown to the Defendant, but may not be left in the

20             Defendant’s custody.

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1                - Paragraph four is amended to: Defense counsel may possess, but not

2                copy (excluding the production of necessary working copies), all

3                discovery materials, including sealed documents.

4                - Paragraph five is amended to: Defense counsel may show to and

5                discuss with the Defendant all discovery materials, including sealed

6                documents.

7          3.    The Government will continue to provide discovery materials on an

8    on-going basis to defense counsel.

9          IT IS SO ORDERED. The District Court Clerk is directed to enter this Order

10   and provide copies to counsel.

11         DATED November 5, 2020.

12
                                               s/ Rosanna Malouf Peterson
13                                          ROSANNA MALOUF PETERSON
                                               United States District Judge
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     ORDER AMENDING PROTECTIVE ORDER ~ 2
